 1

 2                    IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                           WESTERN DISTRICT COURT OF WASHINGTON
 3

 4
     Re
                                                     In Chapter 13 Proceeding
 5
                                                     No. 15-41510-MJH
 6   SUZIE JANE EDWARDS
                                                      DEBTOR(S) DECLARATION
 7                        Debtor(s)                   IN SUPPORT OF MOTION TO
                                                      MODIFY
 8
     ______________________________
 9
     Comes now the above referenced Debtor(s) in the case and declare as follows:
10

11
          1. I am the Debtor in this case.
12
          2. I would ask the court to modify my Plan so I can cure the arrears in my case.
13
          3. I did not receive the Notice of Payment Change from my mortgage company and
14
             so I have been paying the old mortgage amount since 2017 and am now in
15
             default. The modified Plan will cure those arrears and bring my ongoing
16
             payments into the Plan.
17

18
             Dated: June 25, 2018

19

20        /s/ Suzie Jane Edwards
          ______________________
21         Suzie Jane Edwards
          Debtor
22

23

24

25
                                                                      BROWN and SEELYE PLLC
            Declaration                       1                      744 South Fawcett Ave.
                                                                            Tacoma, WA 98402
                                                                               253-573-1958
